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5

6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    ULISES BECCERRIL-HUATO,           )       No. CV-F-09-149 OWW
                                       )       (No. CR-F-02-5288 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                    Petitioner,      )       ORDER DENYING PETITIONER
                                       )       ULISES BECCERRIL-HUATO'S
12              vs.                    )       MOTION TO VACATE, SET ASIDE
                                       )       OR CORRECT SENTENCE PURSUANT
13                                     )       TO 28 U.S.C. § 2255 AND
     UNITED STATES OF AMERICA,         )       DIRECTING CLERK OF COURT TO
14                                     )       ENTER JUDGMENT FOR
                                       )       RESPONDENT
15                    Respondent.      )
                                       )
16                                     )

17

18
          On January 23, 2009, Petitioner Ulises Beccerril-Huato,
19
     proceeding in pro per, filed a motion to vacate, set aside or
20
     correct sentence pursuant to 28 U.S.C. § 2255.
21
          A.   Background.
22
          Petitioner was charged by Superseding Indictment with
23
     conspiracy to manufacture methamphetamine and to possess
24
     pseudoephedrine, a listed chemical, having reasonable cause to
25
     believe it would be used to manufacture methamphetamine (Count
26

                                           1
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1    One), and with attempted possession of pseudoephedrine, a listed

2    chemical, having reasonable cause to believe it would be used to

3    manufacture methamphetamine (Count Two).        Petitioner was charged

4    by Superseding Information with three counts of using a

5    communication facility to facilitate a drug-trafficking offense.

6    Petitioner pleaded guilty pursuant to a written Plea Agreement,

7    (Doc. 304), to the three counts of using a communication facility

8    to facilitate a drug trafficking offense.        The Plea Agreement

9    provided:

10               2.    Agreements by the Defendant.

11               ...

12                    (a) The defendant agrees that he
                 should be sentenced to three consecutive 48-
13               months terms of imprisonment, for a total of
                 144-months, and further agrees not to request
14               or argue to the court that his sentence
                 should be lower than the 144-month
15               consecutive statutory maximum. He
                 additionally agrees that the amount of
16               pseudoephedrine involved in the manufacturing
                 conspiracy could produce in excess of 1.5
17               kilograms of actual methamphetamine.

18               ...

19                    (f) The defendant is aware that
                 Title 18, United States Code, Section 3742
20               affords a defendant the right to appeal the
                 sentence imposed. Acknowledging this, the
21               defendant knowingly waives the right to
                 appeal his conviction and similarly waives
22               the right to appeal any sentence (or the
                 manner in which the sentence was determined)
23               on the grounds set forth in Title 18, United
                 States Code, Section 3742 or on any other
24               ground whatever, in exchange for the
                 concessions made by the United States in this
25               plea agreement. The defendant also waives
                 his right to challenge his conviction,
26               sentence or the manner in which it was

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1           determined in any post-conviction attack,
            including but not limited to a motion brought
2           under Title 28, United States Code, Sections
            2241 or 2255.
3
            (g) If the defendant’s conviction or sentence
4           on any of the counts to which he is pleading
            is ever vacated at the defendant’s request,
5           or his sentence is ever reduced at her [sic]
            request, or if the defendant violates the
6           Plea Agreement, he shall thereafter be
            subject to prosecution for any federal
7           criminal violation of which the government
            has knowledge, including but not limited to
8           perjury, false statements, and obstruction of
            justice. Because disclosures pursuant to
9           this Agreement will constitute a waiver of
            the Fifth Amendment privilege against
10          compulsory self-incrimination, any such
            prosecution may be premised on statements
11          and/or information provided by the defendant.
            The government shall have the right (1) to
12          prosecute the defendant on any of the counts
            to which he has pleaded guilty; (2) to
13          reinstate any counts that may be dismissed
            pursuant to this agreement, and (3) to file
14          any new charges that would otherwise be
            barred by this agreement. The decision to
15          pursue any or all of these options will be
            solely within the discretion of the United
16          States Attorney’s Office. By signing this
            agreement, the defendant agrees to waive any
17          objections, motions, and defenses he might
            have to the government’s decision, including
18          Double Jeopardy. In particular, he agrees
            not to raise any objections based on the
19          passage of time with respect to such counts,
            including, but not limited to, any statutes
20          of limitation or any objections based on the
            Speedy Trial Act or the Speedy Trial Clause
21          of the Sixth Amendment.

22          If it is determined that the defendant has
            violated any provisions of this Agreement or
23          if the defendant successfully moves to
            withdraw his plea: (1) all statements made by
24          the defendant to the government or other
            designated law enforcement agencies, or any
25          testimony given by the defendant before a
            grand jury or other tribunal, whether before
26          or after this Agreement, shall be admissible

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1              in evidence in any criminal, civil, or
               administrative proceedings hereafter brought
2              against the defendant; and (2) the defendant
               shall assert no claim under the United States
3              Constitution, any statute, Rule 11(c)(6) of
               the Federal Rules of Criminal Procedure, Rule
4              410 of the Federal Rules of Evidence, or any
               other federal rule, that statements made by
5              the defendant before or after this Agreement,
               or any leads derived therefrom, should be
6              suppressed. By signing this Agreement, the
               defendant waives any and all rights in the
7              foregoing respects.

8              ...

9              3.    Agreements by the Government.

10                  (a) The government will recommend
               that the defendant receive a three-level
11             reduction in the computation of his offense
               level due to her acceptance of
12             responsibility, provided that the defendant
               qualifies for such a reduction in his
13             interview with the probation officer.

14                  (b) The government agrees to
               dismiss the charges in the Superseding
15             Indictment at the time of sentencing.

16   The Plea Agreement set forth the following factual basis:

17             The defendant will plead guilty because he is
               in fact guilty of the crime set forth in the
18             superseding information. The defendant also
               agrees that the following are the facts of
19             this case, although he acknowledges that, as
               to other facts, the parties may disagree:
20
                      Between on or about July 17, 2002,
21                    and July 18, 2002 in the County of
                      Fresno, within the State and
22                    Eastern District of California, and
                      elsewhere, the defendant knew that
23                    there was a conspiracy between
                      ADALI VIANA RODRIGUEZ, aka ‘Angel,’
24                    aka ‘Angelo,’ ADAN ECHEVERRIA-
                      HUIZAR, aka Adan Huizar Echeverria,
25                    aka ‘Zanahoria,’ and Jaime Diaz
                      Lopez, to manufacture
26                    methamphetamine and to possess

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1                     pseudoephedrine, a listed chemical,
                      having reasonable cause to believe
2                     it would be used to manufacture
                      methamphetamine, a controlled
3                     substance.

4                     Specifically, during that time
                      frame, the defendant knowingly and
5                     intentionally used a telephone on
                      three separate occasions to arrange
6                     a meeting with Viana Rodriguez in
                      the Fresno area.    The defendant
7                     knew that his co-defendants had
                      arranged to purchase from a
8                     confidential source forty cases of
                      pseudoephedrine for the purpose of
9                     cooking or manufacturing ‘crank’ or
                      methamphetamine. He, along with
10                    ECHEVERRIA-HUIZAR and Diaz Lopez,
                      were responsible for delivering
11                    approximately $44,708.00 in cash
                      for the forty cases of
12                    pseudoephedrine pills. Forty cases
                      of pseudoephedrine is capable of
13                    producing approximately 31.1
                      kilograms of actual
14                    methamphetamine.

15        Petitioner was sentenced on February 28, 2005 to three 48

16   month consecutive prison terms for a total of 144 months

17   incarceration.   Petitioner did not file a Notice of Appeal.

18        On December 28, 2008, Petitioner filed a motion for leave to

19   file a petition for writ of habeas corpus, (Doc. 401).

20   Petitioner contended that his defense attorney, David Balakian,

21   failed to file a Notice of Appeal when asked to do so and the

22   Court had given Petitioner the right to file a Notice of Appeal.

23   By Memorandum Decision and Order filed on December 31, 2008,

24   (Doc. 402), Petitioner’s motion was denied:

25             Because Petitioner is a federal prisoner
               seeking to assert a post-conviction challenge
26             to the legality of his conviction and

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1           sentence, he must file a motion to vacate,
            set aside or correct sentence pursuant to 28
2           U.S.C. § 2255. A federal prisoner may not
            attack his conviction and sentence by way of
3           a habeas corpus petition under Section 2241
            unless a motion under Section 2255 is
4           “inadequate or ineffective to test the
            legality of his detention.” 28 U.S.C. §
5           2255; see also Moore v. Reno, 185 F.3d 1054,
            1055 (9th Cir. 1999), cert. denied, 528 U.S.
6           1178 (2000). A federal habeas petitioner may
            not avoid the limitations imposed on
7           successive Section 2255 motions by styling
            his petition as one pursuant to Section 2241
8           rather than Section 2255. Id.

9           Section 2255 provides that a one-year period
            of limitation applies to a Section 2255
10          motion, which limitation period runs from the
            latest of:
11
                  (1) the date on which the judgment
12                of conviction became final;

13                (2) the date on which the
                  impediment to making a motion
14                created by governmental action in
                  violation of the Constitution or
15                laws of the United States is
                  removed, if the movant was
16                prevented from making a motion by
                  such governmental action;
17
                  (3) the date on which the right
18                asserted was initially recognized
                  by the Supreme Court, if that right
19                has been newly recognized by the
                  Supreme Court and made
20                retroactively applicable to cases
                  on collateral review; or
21
                  (4) the date on which the facts
22                supporting the claim or claims
                  presented could have been
23                discovered through the exercise of
                  due diligence.
24
            In Roe v. Flores-Ortega, 528 U.S. 470 (2000),
25          the Supreme Court addressed the showings
            required for a claim of ineffective
26          assistance of counsel because of counsel’s

                                      6
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1           failure to file a notice of appeal. The
            Supreme Court noted that it has “long held
2           that a lawyer who disregards specific
            instructions from the defendant to file a
3           notice of appeal acts in a manner that is
            professionally unreasonable.” Id. at 477.
4
            The threshold issue is the timeliness of this
5           claim for relief. Applicable here is Section
            2255(4).
6
            Assuming the truth of Petitioner’s assertion
7           that he asked Mr. Balakian to file a notice
            of appeal on February 28, 2005,
8           Petitioner’s motion was not filed until
            December 29, 2008, almost four years later.
9           Petitioner makes no showing that he exercised
            any diligence in checking the status of his
10          appeal. Petitioner does not assert when he
            first inquired into the status of his appeal
11          or whether he ever inquired about the status
            of his appeal.
12
            “The statute does not require the maximum
13          feasible diligence, only due, or reasonable
            diligence.” Wims v. United States, 225 F.3d
14          186, 190 n.4 (2nd Cir.2000). “Due diligence
            ... does not require a prisoner to undertake
15          repeated exercises in futility or to exhaust
            every imaginable option, but rather to make
16          reasonable efforts.” Aron v. United States,
            291 F.3d 708, 712 (11th Cir.2002). This test
17          requires courts to consider certain external
            requirements such as “the conditions of [the
18          petitioner’s] confinement.” Wims, id.
            Because “a defendant who instructs counsel to
19          initiate an appeal reasonably relies upon
            counsel to file the necessary notice,” Roe v.
20          Flores-Ortega, supra, 528 U.S. at 476, a
            petitioner is not required “to check up on
21          his counsel’s pursuit of an appeal on ... the
            very day on which [his] conviction becomes
22          final.” Wims, id. However, “a duly diligent
            person” does not require “three and a half
23          years ... to discover that counsel had not
            filed a notice of appeal ....” Zapata v.
24          United States, 2000 WL 1610801 at *3
            (S.D.N.Y.2000); see Tineo v. United States,
25          2002 WL 1997801 at *2 (S.D.N.Y.2002)(“A duly
            diligent person in Tineo’s shoes would not
26          have needed more than three years to discover

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1               the alleged ineffectiveness of counsel,
                including whether his attorney had failed to
2               file a direct appeal.”); Gonzalez v. United
                States, 2002 WL 31512728 at *4
3               (S.D.N.Y.2002).

4               Petitioner’s claim of ineffective assistance
                of counsel is time-barred pursuant to Section
5               2255(4).

6               In Calderon v. U.S. Dist. Court for Central
                Dist. of Cal., 128 F.3d 1283 (9th Cir. 1997),
7               cert. denied, 522 U.S. 1099 and 523 U.S. 1061
                (1998), overruled on other grounds, 163 F.3d
8               530 (9th Cir. 1998), the Ninth Circuit held
                that the one-year limitations period
9               applicable to Section 2255 motions is subject
                to equitable tolling. However, the Ninth
10              Circuit further held:

11                   Equitable tolling will not be
                     available in most cases, as
12                   extensions of time will only be
                     granted if ‘extraordinary
13                   circumstances’ beyond a
                     petitioner’s control make it
14                   impossible to file a petition on
                     time ... We have no doubt that
15                   district judges will take seriously
                     Congress’s desire to accelerate the
16                   federal habeas process, and will
                     only authorize extensions when this
17                   high hurdle is surmounted.

18              Id. at 1288-1289.

19              Petitioner makes no showing that anything
                prevented him from filing the instant motion
20              until almost four years after Petitioner was
                sentenced.
21
          B.   Motion to Vacate, Set Aside or Correct Sentence Pursuant
22
     to 28 U.S.C. § 2255.
23
          Petitioner’s Section 2255 motion asserts four grounds for
24
     relief:
25
                1. Ground One: Denial of effective assistance of
26              counsel.

                                         8
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1           The Court granted the right to appeal
            sentence and counsel told movant that there
2           were [sic] nothing that could be done and if
            an appeal were to be filed it could be bad
3           for the movant and the Court could give him a
            harsh sentence, which movant now understands
4           that the Court would not grant him the right
            to appeal for him to get into a harsher
5           sentence. It is illegal, illogical and
            cruel.
6
            2.   Ground Two: Conviction obtained by plea
7           of guilty which was unlawfully induced or not
            made voluntarily or with understanding of the
8           nature of the charge and the consequences of
            the plea.
9
            Movant was told by counsel that it was best
10          to plead guilty because it could be worse for
            him. Movant was a minimal participant on the
11          crime and due to his ignorance of the legal
            procedures and his drugs adiction [sic]
12          accepted any opinion that his counsel told
            him was best for him. Being ignorant of the
13          language, ignorant of the law, and at the
            mercy of his counsel, movant could had [sic]
14          accepted anything not understanding the
            consequences.
15
            3. Ground Three: Conviction obtained by use
16          of coerced confession.

17          As mentioned on [sic] Ground Two, movant was
            at the mercy of the effectiveness of his
18          counsel, and was told to accept what was
            offered or it will be worse.
19
            4. Ground Four: Violation of the equal
20          protection.

21          Movant is a national of Mexico and is not
            eligible to the reduction of sentence for
22          participation on the drug program offered by
            the BOP even when the Court order to
23          participate, the 12 month reduction is not
            granted like in the case of other inmates,
24          U.S. citizens, in the custody of the BOP
            under the same laws.
25
       With regard to the timeliness of the Section 2255 motion,
26

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1    Petitioner asserts:

2              Movant is ignorant of the language (English),
               ignorant of the law and procedures. Movant
3              was told by his counsel that he could not
               appeal. Nowhere in the instructions where he
4              has been there [sic] is a posted information
               on [sic] his language (Spanish) or in English
5              on the bulletin board that states the time
               limitation to file any motion or petition, by
6              curiosity of what a fellow inmate was doing,
               movant came to find out that, him, too [sic]
7              could had filed a post-conviction motion.

8         Petitioner’s Section 2255 motion seeks the following relief:

9              To evaluate his sentence and grounds and
               grant him a reduction of sentence if movant
10             were sentenced under recent guidelines.

11             1.   Timeliness of Section 2255 Motion.

12        Section 2255 provides that a one-year period of limitation

13   applies to a Section 2255 motion, which limitation period runs

14   from the latest of:

15             (1) the date on which the judgment of
               conviction became final;
16
               (2) the date on which the impediment to
17             making a motion created by governmental
               action in violation of the Constitution or
18             laws of the United States is removed, if the
               movant was prevented from making a motion by
19             such governmental action;

20             (3) the date on which the right asserted was
               initially recognized by the Supreme Court, if
21             that right has been newly recognized by the
               Supreme Court and made retroactively
22             applicable to cases on collateral review; or

23             (4) the date on which the facts supporting
               the claim or claims presented could have been
24             discovered through the exercise of due
               diligence.
25
          At issue here is subparagraph (4).       Petitioner’s claims
26

                                        10
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1    asserted in Grounds One, Two and Three are untimely.

2    Petitioner’s Section 2255 motion asserts that Petitioner knew

3    that Mr. Balakian did not file the Notice of Appeal because Mr.

4    Balakian told him that an appeal could result in the imposition

5    of a more severe sentence.     Petitioner’s claims that his guilty

6    plea was involuntary because he did not understand the terms of

7    the Plea Agreement or its consequences and that he only stated

8    during the change of plea colloquy what Mr. Balakian told him to

9    say were known to Petitioner at the time of the change of plea.

10        The issue is whether Petitioner may be entitled to equitable

11   tolling.

12        In Calderon v. U.S. Dist. Court for Central Dist. of Cal.,

13   128 F.3d 1283 (9th Cir. 1997), cert. denied, 522 U.S. 1099 and

14   523 U.S. 1061 (1998), overruled on other grounds, 163 F.3d 530

15   (9th Cir. 1998), the Ninth Circuit held that the one-year

16   limitations period applicable to Section 2255 motions is subject

17   to equitable tolling.    However, the Ninth Circuit further held:

18              Equitable tolling will not be available in
                most cases, as extensions of time will only
19              be granted if ‘extraordinary circumstances’
                beyond a petitioner’s control make it
20              impossible to file a petition on time ... We
                have no doubt that district judges will take
21              seriously Congress’s desire to accelerate the
                federal habeas process, and will only
22              authorize extensions when this high hurdle is
                surmounted.
23
     Id. at 1288-1289.    “A litigant seeking equitable tolling [of the
24
     one-year AEDPA limitations period] bears the burden of
25
     establishing two elements: (1) that he has been pursuing his
26

                                        11
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1    rights diligently, and (2) that some extraordinary circumstance

2    stood in his way.”    Pace v. DiGuglielmo, 544 U.S. 408, 418

3    (2005).    “[T]he threshold necessary to trigger equitable tolling

4    under [the] AEDPA is very high, lest the exceptions swallow the

5    rule.”    Miranda v. Castro, 292 F.3d 1063, 1066 (9th Cir.2002).

6         In Mendoza v. Carey, 449 F.3d 1065, 1068 (9th Cir.2006), the

7    Ninth Circuit addressed whether a petitioner’s inability to

8    obtain Spanish-language materials or procure translation

9    assistance can be grounds for equitable tolling of the AEDPA’s

10   one-year limitation period:

11               While Whalem/Hunt does not directly control
                 the facts of this case, we find its reasoning
12               instructive. In Whalem/Hunt, the state’s
                 failure to provide access to the text of the
13               AEDPA constituted possible grounds for
                 equitable tolling because, according to the
14               petitioner’s allegations, the absence of a
                 copy of the AEDPA prevented him from learning
15               about the AEDPA’s one-year deadline and
                 therefore prevented a timely filing ... We
16               concluded that remand was the appropriate
                 remedy because the district court had
17               provided the petitioner ‘no opportunity to
                 amend his petition or expand his
18               declaration,’ and had failed to hold an
                 evidentiary hearing ....
19
                 By analogy, Mendoza has alleged that lack of
20               access to Spanish-language legal materials
                 prevented him from learning about the AEDPA’s
21               deadline and thereby prevented his timely
                 filing. According to his declaration, when
22               Mendoza was first incarcerated, he requested
                 Spanish-language legal materials but was told
23               to ‘wait until [he] got to [his] regular
                 assigned prison.’ After arriving at Solono
24               State Prison, he made several trips to the
                 library but found only English-language books
25               and only English-speaking clerks and
                 librarians. Not until Mendoza found an
26               newly-arrived, bilingual inmate willing to

                                        12
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1            offer assistance was he able to file his
             habeas petition; however, by this time, the
2            AEDPA deadline had already passed. We
             conclude that this combination of (1) a
3            prison library’s lack of Spanish-language
             legal materials, and (2) a petitioner’s
4            inability to obtain translation assistance
             before the one-year deadline, could
5            constitute extraordinary circumstances.

6            This holding comports with the decisions of
             other Circuits, which have rejected a per se
7            rule that a petitioner’s language limitations
             can justify equitable tolling, but have
8            recognized that equitable tolling may be
             justified if language barriers actually
9            prevent timely filing. In Cobas v. Burgess,
             306 F.3d 441, 441 (6th Cir.2002), the court
10           held that a petitioner’s ‘inability to speak,
             write, or understand English, in and of
11           itself, does not automatically’ justify
             equitable tolling. The court emphasized that
12           the ‘existence of a translator who can read
             and write English and who assists a
13           petitioner during appellate proceedings’
             renders equitable tolling in applicable for
14           that petitioner ... Because Cobas had written
             a detailed letter to his counsel in English
15           and had otherwise demonstrated his ability to
             either communicate in English or communicate
16           with a translator, the record in Cobas’ case
             ‘belie[d] any claim that language
17           difficulties prevented Cobas from filing his
             petition in a timely manner.’ ....
18
             We find this reasoning persuasive, because it
19           implicitly identifies the category of non-
             English-speaking inmates whose situations
20           could constitute ‘extraordinary
             circumstances.’ Although the petitioner was
21           ultimately denied relief in Cobas, the
             decision’s rationale left open the
22           possibility that a non-English speaker who
             could not find a willing translator could
23           qualify for equitable tolling. Following
             this reasoning, we conclude that a non-
24           English-speaking petitioner seeking equitable
             tolling must, at a minimum, demonstrate that
25           during the running of the AEDPA time
             limitation, he was unable, despite diligent
26           efforts, to procure either legal materials in

                                      13
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1              his own language or translation assistance
               from an inmate. We agree with Cobas that a
2              petitioner who demonstrates proficiency in
               English or who has the assistance of a
3              translator would be barred from equitable
               relief ....
4
               ...
5
               Because Mendoza alleged that he lacks English
6              language ability, was denied access to
               Spanish-language legal materials, and could
7              not procure the assistance of a translator
               during the running of the AEDPA limitations
8              period, he has alleged facts that, if true,
               may entitle him to equitable tolling.
9
     449 F.3d at 1069-1071.
10
          Although Petitioner asserts that he is “ignorant” of the
11
     English-language and that the prison(s) where he has been
12
     incarcerated do not post on bulletin boards in either Spanish or
13
     English that sets forth the one-year limitation to file a Section
14
     2255 motion, Petitioner does not assert that such materials were
15
     unavailable in the prison libraries or that he was unable, with
16
     due diligence, to obtain the services of a translator during the
17
     one-year limitation period.     It is clear that Petitioner was
18
     unaware of the law governing the filing of a Section 2255 motion
19
     and made no diligent, timely attempt to find out those
20
     requirements.   Petitioner has not demonstrated (1) that he has
21
     been pursuing his rights diligently, and (2) that some
22
     extraordinary circumstance stood in his way.
23
          Petitioner’s Section 2255 motion is DENIED as untimely.
24
               2.    Effect of Waiver in Plea Agreement.
25
          A defendant may waive the statutory right to bring a Section
26

                                        14
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1    2255 motion challenging his conviction or sentence.          United

2    States v. Pruitt, 32 F.3d 431, 433 (9th Cir.1994); United States

3    v. Abarca, 985 F.2d 1012, 1014 (9th Cir.1992), cert. denied, 508

4    U.S. 979 (1993).   The Ninth Circuit has ruled that “a plea

5    agreement that waives the right to file a federal habeas petition

6    pursuant to 28 U.S.C. § 2254 is unenforceable with respect to an

7    IAC claim that challenges the voluntariness of the waiver.”

8    Washington v. Lampert, 422 F.3d 864, 871 (9th Cir.2005), cert.

9    denied, 547 U.S. 1074 (2006).      Here, Petitioner generally

10   contends that counsel was ineffective in advising him to plead

11   guilty but makes no specific claim that the waiver of the right

12   to file a Section 2255 motion was involuntary.         Therefore,

13   Petitioner validly waived his right to bring this Section 2255

14   motion.

15             3.   Ineffective Assistance of Counsel/Involuntary Plea.

16        To establish an ineffective assistance of counsel claim,

17   Petitioner must show: (1) the representation was deficient,

18   falling “below an objective standard of reasonableness”; and (2)

19   the deficient performance prejudiced the defense.         Strickland v.

20   Washington, 466 U.S. 668, 687 (1984).       The Court need not

21   evaluate both prongs of the Strickland test if the petitioner

22   fails to establish one or the other.       Strickland, id. at 697;

23   Thomas v. Borg, 159 F.3d 1147, 1152 (9th Cir.1998), cert. denied,

24   526 U.S. 1055 (1999).

25        Under the first prong, Petitioner must show that “counsel

26   made errors so serious that counsel was not functioning as the

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1    ‘counsel’ guaranteed the defendant by the Sixth Amendment.”

2    Strickland, 466 U.S. at 687.      “A convicted defendant making a

3    claim of ineffective assistance must identify the acts or

4    omissions of counsel that are alleged not to have been the result

5    of reasonable professional judgment.”       Id. at 690.    “A fair

6    assessment of attorney performance requires that every effort be

7    made to eliminate the distorting effects of hindsight, to

8    reconstruct the circumstances of counsel’s challenged conduct,

9    and to evaluate the conduct of counsel’s performance at the

10   time.”   Id. at 689.   The proper inquiry is whether, “in light of

11   all the circumstances, the identified acts or omissions were

12   outside the wide range of professionally competent assistance.”

13   Id.   The court must apply “a heavy measure of deference to

14   counsel’s judgments,” and “must indulge a strong presumption that

15   counsel’s conduct [fell] within the wide range of reasonable

16   professional assistance.”     Id. at 690-691.     “The relevant inquiry

17   under Strickland is not what defense counsel could have pursued,

18   but rather whether the choices made by defense counsel were

19   reasonable.”   Siripongs v. Calderon, 133 F.3d 732, 736 (9th

20   Cir.1988).   “The failure to raise a meritless legal argument does

21   not constitute ineffective assistance of counsel.”         Shah v.

22   United States, 878 F.2d 1156, 1162 (9th Cir.1989).        A decision to

23   waive an issue where there is little or no likelihood of success

24   and concentrate on other issues is indicative of competence, not

25   ineffectiveness.   See Miller v. Keeney, 882 F.2d 1428, 1434 (9th

26   Cir.1989).

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1         To meet the prejudice requirement, the petitioner must

2    demonstrate that errors “actually had an adverse effect on the

3    defense.”    Strickland, 466 U.S. at 693.     “It is [also] not enough

4    for the defendant to show that the errors had some conceivable

5    effect on the outcome of the proceeding.”        Id.   “Virtually every

6    act or omission of counsel would meet that test, and not every

7    error that conceivably could have influenced the outcome

8    undermines the reliability of the result of the proceeding.”           Id.

9    “The defendant must show that there is a reasonable probability

10   that, but for counsel’s unprofessional errors, the result of the

11   proceeding would have been different.       A reasonable probability

12   is a probability sufficient to undermine confidence in the

13   outcome.    Id. at 694.    Where a petitioner enters a guilty plea

14   upon the advice of counsel, the voluntariness of the plea depends

15   upon whether the petitioner received effective assistance of

16   counsel.    In order to prevail on an ineffective assistance of

17   counsel claim, “the [petitioner] must show that there is a

18   reasonable probability that, but for counsel’s errors, he would

19   not have pleaded guilty and would have insisted on going to

20   trial.”     Hill v. Lockhart, 474 U.S. 52, 56-57 (1985).

21                     a.   Ground One.

22        Petitioner contends that counsel was ineffective in advising

23   Petitioner not to pursue an appeal after the Court had granted

24   him the right to appeal.

25        Petitioner’s claim is without merit.        By the terms of the

26   Plea Agreement and as admitted under oath by Petitioner during

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1    the change of plea proceedings, Petitioner expressly waived his

2    right to appeal and to collaterally attack his conviction and

3    sentence as a condition of the Plea Agreement.         At sentencing,

4    the Court advised Petitioner that he had a right to appeal if not

5    previously waived.    Here, Petitioner had waived his right to

6    appeal.    Counsel’s advice to Petitioner that an appeal would be

7    futile and could result in imposition of a harsher sentence was

8    correct.   Because of the waiver of the right to appeal in the

9    Plea Agreement, Petitioner’s appeal undoubtedly would have been

10   dismissed because it had been waived.       By failing an appeal,

11   Petitioner risked the Government treating the filing as a breach

12   of the Plea Agreement and reinstating the dismissed conspiracy

13   and possession counts charged in the Superseding Indictment,

14   thereby exposing Petitioner to a potential life sentence.

15   Petitioner does not assert that he demanded that counsel file an

16   appeal notwithstanding his counsel’s advice.1

17                    b.   Grounds Two and Three.

18        In Grounds Two and Three, Petitioner contends that his

19   attorney was ineffective because counsel advised him to plead

20   guilty pursuant to the written Plea Agreement and that Petitioner

21   did not understand the consequences of his guilty plea.

22        Petitioner’s contentions are belied by the record.          During

23   the change of plea proceedings, Petitioner stated under oath that

24   he had discussed the Plea Agreement with counsel before changing

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           Even if Petitioner had so asserted, a claim of ineffective
26   assistance of counsel on that basis is time-barred.

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1    his plea, that he understood the Plea Agreement, and that, after

2    talking the matter over with counsel, he still wished to plead

3    guilty.   Petitioner stated under oath that he had not consumed

4    any drugs, alcohol or medication within 24 hours of his change of

5    plea.   Petitioner stated that he understood that he was entitled

6    to a jury trial at which the Government would have to call

7    witnesses; that his attorney could object to questions and call

8    witnesses on Petitioner’s behalf at a jury trial; and that the

9    Government would have to prove the elements of the crime to which

10   he was pleading guilty beyond a reasonable doubt.         Petitioner

11   stated under oath that he understood the sentence that could be

12   imposed because of his guilty plea and that he understood that,

13   by pleading guilty pursuant to the Plea Agreement, Petitioner was

14   waiving his right to appeal and to collaterally attack his

15   conviction and sentence.     Petitioner stated that, with all of

16   that in mind, Petitioner wished to plead guilty.         Petitioner

17   admitted under oath to the factual basis for his guilty plea,

18   which satisfied all the legal requirements for a change of plea

19   to the crimes of conviction.      Petitioner’s claim of ineffective

20   assistance of counsel also fails because Petitioner does not

21   contend that, had he understood the terms and consequences of the

22   guilty plea, he would not have pleaded guilty and would have

23   insisted on going to trial.     As noted, Petitioner does not seek a

24   jury trial by his Section 2255 motion; rather, Petitioner seeks a

25   reduction in his sentence.

26              3.   Ground Four - Lack of Jurisdiction.

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1          Ground Four is a challenge by Petitioner to the manner,

2    location or conditions of his sentence’s execution.           In order to

3    do so, Petitioner must bring a petition for writ of habeas corpus

4    pursuant to 28 U.S.C. § 2241 in the district court for the

5    district in which Petitioner is confined.         Capaldi v. Pontesso,

6    135 F.3d 1122, 1123 (9th Cir.1998); United States v. Giddings,

7    740 F.2d 770, 771-772 (9th Cir.1984); Brown v. United States, 610

8    F.2d 672, 677 (9th Cir.1980).      Because Petitioner is serving his

9    sentence in Texas, Petitioner must bring his challenge in the

10   appropriate United States District Court in Texas.

11                                 CONCLUSION

12         For the reasons stated:

13         1.     Petitioner Ulises Beccerril-Huato’s motion to vacate,

14   set aside or correct sentence pursuant to 28 U.S.C. § 2255 is

15   DENIED;

16         2.     The Clerk of the Court is directed to ENTER JUDGMENT FOR

17   RESPONDENT AND AGAINST PETITIONER.

18         IT IS SO ORDERED.

19   Dated:     February 3, 2009            /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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